          Case 3:12-cr-02433-WVG                        Document 68                Filed 09/13/12              PageID.189               Page 1 of 2


    'A0245B       (Rev. 12111) Judgment in a Criminal Petty Case
                  Sheet 1

                                              UNITED STATES DISTRICT COUR~SEP 13 Pi'; \2: 46
                                                                                     "l "n, US i~ .::, 1 .<
                                                  SOUTHERN DISTR1CT OF CALIFORNIA. . ·~tiiH·ERH UI:SliUl;T vt" ;;

                    UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIM~& CASE
                                        v.                                        (For Offenses Committ~ or A~~ember I, 1~jJTY

                    JOSE TRINIDAD-PACHECO (5)                                     Case Number: 12CR2433­WVG
                                                                                   GRANT EDDY, CJA
                                                                                   Defendant's Attorney
    REGISTRATION NO. 33928298

    o
    THE DEFENDANT:
    181 pleaded guilty to count(s) Count 1 ofthe Superseding Misdemeanor Information
    o      was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty,
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                          Nature of Offense                                                                             Number(s)
8 USC 1325                           ILLEGAL ENTRY (Misdemeanor)




              The defendant is sentenced as provided in pages 2 through ___2____ of this judgment.

   o      The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   181 Count(s) one of the Indictment                                             is ~ areD dismissed on the motion of the United States.
   181 Assessment: $10 - waived


   181 Fine waived                                   o Forfeiture pursuant to order filed                                             included herein.
             IT IS ORDERED that the defendant shall notily the United States Attorney for this district within 30 days ofany change ofname, residence,
       or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
       defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                     September 13,2012




                                                                                    HON. WILLIAM V. GALLO
                                                                                    UNITED STATES MAGISTRATE JUDGE

                                                                                                                                             12CR2433-WVG
   Case 3:12-cr-02433-WVG                             Document 68        Filed 09/13/12     PageID.190            Page 2 of 2


AO 245B     (Rev, 12/11) Judgment in Criminal Petty Case
            Sheet 2    Imprisonment

                                                                                             Judgment - Page   _ _2_ of        2
DEFENDANT: JOSE TRINIDAD-PACHECO (5)
CASE NUMBER: 12CR2433-WVG
                                                               IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          Time Served



   o Sentence imposed pursuant to Title 8 USC Section 1326(b).
   o The court makes the following recommendations to the Bureau ofPrisons:


    o The defendant is remanded to the custody ofthe United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                        Oa.m.    Op.m.    on _ _ _ _ _ _ _ _ _ _ __
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           0 _________________________________________________
           o notified by the United States Marshal.
               as
           o as notified by the Probation or Pretrial Services Office.
                                                                  RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                           ~TEDSTATES~SHAL



                                                                        By
                                                                                       DEPUTY UNITED STATES ~SHAL




                                                                                                                    12CR2433-WVG
